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                          UNITED STATES BANKRUPTCY COURT                   SF07043 (rev 10/2013)
                                Southern District of Indiana
                                 46 E. Ohio St., Rm. 116
                                  Indianapolis, IN 46204
In re:

Brian Christopher Hage,                                 Case No. 19−00439−RLM−7A
Kelly Jeanne Hage,
             Debtors.

               NOTICE OF POSSIBLE ASSETS, ABANDONMENT, AND
                          LAST DAY TO FILE CLAIMS

A Report of Possible Assets and Abandonment of Property was filed on February 25,
2019, by Trustee Gregory S. Fehribach.

NOTICE IS GIVEN that all scheduled assets will be abandoned from the estate except
2018 Income Tax Refunds Due The Debtors (if Any) Federal. Any objection to the
proposed abandonment of property must be filed with the Court by March 12, 2019.
Objections should comply with S.D.Ind. B−9013−1(d) and must be served on the trustee.
If no objections are filed, the abandonment of property becomes effective after March 12,
2019.

NOTICE IS FURTHER GIVEN that assets, not abandoned from the estate, may be used
to pay a dividend to creditors. Creditors must file a claim by May 28, 2019 in order to
share in any distribution from the estate. Instructions to obtain a proof a claim form or
to file electronically can be found at www.insb.uscourts.gov/filing_claims.html. A proof of
claim form can also be obtained from any bankruptcy clerk's office.

Dated: February 26, 2019                      Kevin P. Dempsey
                                              Clerk, U.S. Bankruptcy Court
